8:14-cr-00409-BCB-MDN      Doc # 355    Filed: 08/21/17   Page 1 of 1 - Page ID # 2356




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                   Plaintiff,                                8:14CR409

     vs.
                                                            JUDGMENT
DILANG DAT,

                   Defendant.


      For the reasons discussed in the Court’s Memorandum and Order filed this date:


      IT IS ORDERED:

      1. The Motion to Alter of Amend, ECF No. 347, filed by Defendant Dilang Dat, is

      granted;

      2.   The Defendant’s Motion to Vacate, Set Aside, or Correct his Sentence

      Pursuant to 28 U.S.C. § 2255, ECF No. 342, is deemed resubmitted and timely

      filed;

      3.   The Defendant’s Motion to Vacate, Set Aside, or Correct his Sentence

      Pursuant to 28 U.S.C. § 2255, ECF No. 342, is summarily dismissed; and

      4. The Clerk will mail a copy of this Judgment to the Defendant at his last known

      address.

      Dated this 21st day of August, 2017.

                                              BY THE COURT:

                                              s/Laurie Smith Camp
                                              Chief United States District Judge
